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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF OHIO
                      EASTERN DIVISION AT COLUMBUS


  IN RE: OHIO EXECUTION                     :   Case No. 2:11-cv-1016
  PROTOCOL LITIGATION

                                                District Judge Edmund A. Sargus, Jr.
                                            :   Magistrate Judge Michael R. Merz

  This document relates to:
   Plaintiff Romell Broom                   :


                               DISMISSAL ORDER

         This consolidated § 1983 method of execution case is before the Court on the

  public notice by the Ohio Department of Rehabilitation and Corrections of the death

  of Plaintiff Romell Broom. Given his death, his pending method of execution claims

  are moot, both as made in his Second Amended Individual Supplemental Complaint

  and in the Fourth Amended Omnibus Complaint. Pursuant to Fed.R.Civ.P. 25,

  Broom’s claims for injunctive relief under 42 U.S.C. § 1983 do not survive his death.

  Accordingly the above-captioned action is dismissed as to Mr. Broom.



  December 30, 2020.

                                                      s/ Michael R. Merz
                                                     United States Magistrate Judge




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